Case 2:25-cv-0?183-MFF-MAH Dociiment 11 Filed OA4/2A/25 Pane 1 of ? PanellN: 66

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

ELI LILLY AND COMPANY, Civil Action No.: 2:25-CV-02183-MEF-MAH
Plaintiffs,
Electronically Filed
Vv.
EMPOWER CLINIC SERVICES, LLC d/b/a ORDER

EMPOWER PHARMACY, EMPOWER
CLINIC SERVICES NEW JERSEY LLC d/b/a
EMPOWER PHARMA,

Defendants.

THIS MATTER having been opened to the Court by the parties, Plaintiff Eli Lilly and
Company (“Plaintiff’ or “Eli Lilly”), and Defendants Empower Clinic Services, L.L.C. d/b/a
Empower Pharmacy (incorrectly named as “Empower Clinic Services, LLC d/b/a Empower
Pharmacy”) and Empower Clinic Services New Jersey, LLC d/b/a Empower Pharma (incorrectly
named. as “Empower Clinic Services New Jersey LLC d/b/a Empower Pharma’) (collectively,
“Empowel” or “Defendants”), through a Stipulation Extending Time for Defendants to Answer or
Otherwise Plead in response to Plaintiff's Complaint (D.E. 1), and for good cause shown:

WAS onthis day of April 2025;

ORDERED that the time for Defendants to answer, move, or otherwise respond to
Plaintiff's Complaint, filed on April 1, 2025 (D.E. 1), shall be extended to Tune 5, 2025. It is
further

ORDERED that if Defendants file a dispositive motion in lieu of an answer, the parties
will file their briefs according to the following schedule:

e¢ Defendants’ opening brief will be filed by June 5, 2025;

|
153819164

Cac" PNA 8 NAN RAO RAAT PA] ee AA rc os AN AINAING meee A Het AN ARIS Oe

e Plaintiff’s opposition brief will be filed by July 25, 2025; and

e Defendants’ reply brief (if any) will be Vee At HERES: 2025.

s/Michael A. Hammer

Michael A. Hammer, U.S.M.J.

Ala4{/a8
HONOR APAERS MICHAEL A. HAMMER
UNITED STATES MAGISTRATE JUDGE

153819164

